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                                 UNITED STATES DLSTRtCT COURT
                              FOR THE EASTERN DISTRICTOF VIRGINIA
                                           (Alexandria Division)


      UNITED STATES OF AMERICA, et at,

             Plaint 11Th,
                                                           Case No. I :23-cv-OO I 08-LMB-JFA
      V.
                                                           DECLARATION OF
                                                           CHRISTOPHER EDMONDSON
      GOOGLE LLC.

             Definukint.




            I, Christopher Edmondson, hereby declare as follows:


            I.       I am Executive Director at VML, LLC (“VML”) and Young & Rubicam LLC’s

     offices in Atlanta. Georgia. and Memphis, Tennessee. VML and Young & Rubicam LLC have

     each operated at various times as Team Y&R. Y&R. or VMLY&R (collectively “Y&R”).

            2.       Y&R. a leading global communications company, provides a range of marketing,

     advertising, and communications services to its clients, including, as relevant here, to two of

     Y&R’s clients, the United States Census Bureau (“Census”) and the United States Navy (“Navy”).

            3.       Davis+Gilbert LLP (“Davis+Gilbert”) represents Y&R in connection with the

     above-referenced action (the “Action”), along with local counsel Greenstein DeLorme & Luchs,

     P.C. I understand that in connection with the Action. Y&R’s clients, Census and Navy, produced

     documents containing Y&R’s confidential information, which were designated as Confidential or

     Highly Confidential, reflecting the commercial sensitivity of these documents (the “Y&R

     Confidential Documents”). I have been advised that these designations afford them protection

     from public disclosure pursuant to the Protective Order in this Action.
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              4.     I have been advised that the Parties have filed pleadings containing the Y&R

    Confidential Documents in their entirety, excerpted, and/or as references in expert reports.           I

    understand that these documents are currently filed under seal and have been restricted from public

    view, but that they may be unsealed.

              5.     I understand that. as a result. Y&Rs counsel has filed herewith a response to

     pending motions to continue sealing confidential documents previously filed under seal (the

     “Response”) that requests that the Y&R Confidential Documents continue to be restricted from

     public view, and/or redacted as discussed belo.

              6.     I have reviesed and am familiar with the Response and the Y&R Confidential

     Documents.

              7.     I can verif’ that the Response’s description of the Y&R Confidential Documents       —




     and the damage their public disclosure would cause Y&R       —   is true and accurate. In particular, I

     am familiar with and can verify that the chart reflecting the Y&R Confidential Documents is true

     and accurate.

              8.     Because the Y&R Confidential Documents were filed under seal, neither

     Davis+Gilbert. nor Y&R’s local counsel, nor I have been able to review the entirety of the

     pleadings and understand the context, accuracy. or nature of the references of those documents, so

     specific redactions of that material would not be sufficient to protect Y&R’s privacy as a non-

     party.

              9.     1 have been advised of the general topics at issue in the pending Action. It is my

     understanding that the Y&R Confidential Documents are only generally relevant, but not directly

     dispositive, of any of these issues, but if revealed to the public, they would expose Y&R’s highly

     sensitive, proprietary internal information. It is also my understanding that the Court has dismissed

     the United States’ damages claim as moot, and so the Y&R Confidential Documents, which focus

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     on pricing and cost of advertising. are less relevant, and thus Y&R’s privacy interest in protecting

     its competitive information weighs even more heavily in favor of sealing and/or redaction, as

     discussed below.

             10.    Publicity surrounding or disclosure of the documents that are the subject of Y&R’s

     Response will cause Y&R significant commercial and competitive harm. Similarly, disclosure of

     referenced material which incorporates Y&R’s proprietary and confidential information from the

     Y&R Confidential Documents will cause Y&R significant commercial and competitive harm.

             II.    I have been advised that counsel for the United States has proposed redactions to

     certain documents, and that Y&R’s counsel has communicated to counsel for the United States

     that should any of these documents be unsealed, they must be redacted to protect Y&R proprietary

     and confidential information and to ensure compliance with the appropriate local and federal rules

     (the “Y&R Documents for Redaction”).

             12.    I have reviewed the Y&R Documents for Redaction as presented with proposed

     redactions and believe that with the additional redactions that Y&R’s counsel proposed, such

     redactions are sufficient to protect Y&R’s privacy and confidential information. I am familiar with

     and can verify that the chart reflecting the Y&R Documents for Redaction is true and accurate.

            13.     Finally, the harm to Y&R commercial and competitive interests should the Y&R

     Confidential Documents become available for public viewing does not have a near-term expiration

     date and cannot be prevented by more tailored redactions.




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            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

     United States of America that the foregoing is true and correct.


     Executed on June       2024




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